     Case 2:18-bk-10458-BR           Doc 30 Filed 05/09/18 Entered 05/09/18 10:46:40            Desc
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2
                                                                      FILED & ENTERED
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4                                                                           MAY 09 2018
5
                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
6                                                                      BY fortier    DEPUTY CLERK


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8
                                  UNITED STATES BANKRUPTCY COURT
9
                                   CENTRAL DISTRICT OF CALIFORNIA
10
                                        LOS ANGELES DIVISION
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12
13   In re:                                           Case No.: 2:18-bk-10458-BR
14   SONYA MARIE THERIAULT,                           CHAPTER 7
15                                                    ORDER REOPENING CASE DUE TO
                                                      CLERICAL ERROR
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17
18                                      Debtor(s).

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               On May 8, 2018, the above bankruptcy case was closed due to clerical error. IT
21
     IS HEREBY ORDERED that the above bankruptcy case is reopened.
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               IT IS SO ORDERED.
23
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25            Date: May 9, 2018

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